         Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 1 of 7
                                              UNCLASSIFIED

                                    UNITED STATES DEPARTMENT OF JUSTICE
                                        FEDERAL BUREAU OF INVESTIGATION




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          Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 2 of 7
                                             UNCLASSIFIED



                                   Description of the Diplomacy Project

Status Quo: Russian-American relations

It is highly likely that the US          Party (the P) will gain full control of governing the country as
a result of 2016 presidential elections.

As early as November 2014 the                   attained a majority in the US Congress (the P has 54
seats vs. the             44 in the US Senate, and 247 seats vs. the             188 in the House of
Representatives).               dominance in the institutions of U.S. state power will be finalized by
victory in the presidential election. This is very likely for two reasons.

    •   The             have had more than two terms in a row only twice in the US history;           has
        already served his two terms;
    •   The level of support for the only probable              candidate in the 2016 presidential
        elections,              , is low (the scandal of breaking the law and having a personal email
        account, March 2015, the gender of the candidate (a woman has never won in the US). It is
        acceptable that         won against the emotional background of the black population that
        went through deep complexes during the years of slavery, but it seems highly unlikely that the
        people will have another emotional impulse to elect a woman given all her other negative
        aspects (her age, her husband’s reputation, etc.). The              Party does not seem to have
        any other candidates.

It is important to understand, however, that despite the low, but still real chance that the P will lose
the presidential race, the Party still holds a majority in Congress, and that allows it to play a key role in
the American political system.

Traditionally, the P is associated with a negative and aggressive foreign policy, in particular towards
Russia. The present time, however, is a favorable one for building constructive relations if negotiations
are conducted in the right way.

The situation is unfolding while the US economy is declining and unemployment is rising (fueled by
Obama Care, the social program for the unemployed; this will also hurt the                in the upcoming
elections). As a result, the people are dissatisfied with their policies. One of the reasons for the crisis
are the sanctions imposed on Russia and the corresponding sanctions that RF imposed on the West;
these measures inevitably lead to consequences of that kind, undermining commercial-economic
relationships between Russian and American companies.

One of many obvious examples is the termination of cooperation between the Russian company
and the American company                  due to the sanctions (the cooperation agreement was signed in
2011); the agreement pertained to geo-exploration and extraction of hydrocarbon deposits in the
Russian shelf of the Black and Caspian Seas, in Western Siberia and also in the US, Canada and other
countries. It also provided for creation of the Arctic Research Center (ARC) for sea-shelf exploration and
for conducting joint research. The agreement was signed in the presence of Prime Minster of RF V.V.
Putin in Sochi. Another example:                      used the sanctions to stop imports of Russian
weapons made by the                 Company; this led not only to the collapse of the Russian company


                                                       2
         Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 3 of 7
                                            UNCLASSIFIED

(US sales made 80% of the Company’s exports), but also prevented people from buying original Russian
AKs in the US, and the people perceived this as an infringement of the Second Amendment of the US
Constitution, which gives US citizens the right to bear arms.



Situation inside the P

Selection of presidential candidates from political parties in the US is done in closed primaries. It is
already possible, however, to make a forecast of what is likely to happen. The annual conference of the
                                  is an important indicator of the outcome of the P primaries; the
conference is also known as “the heart of the                Party”; it takes place annually in Washington.
All future candidates (and consequently all               presidents) have always been speakers at the
        In 2015, the situation did not change. Moreover, the conference organizers conduct pre-
elections (pool [sic]) by asking the attendees about their preferences for the                presidential
candidate. The results of the poll always match the results of the primaries later. According to the poll
results, the favorites in the race are           and                who, according to information partly
drawn from insider sources, will be the                candidate in the 2016 presidential election
campaign.

The                                      plays a central role in the P and exerts influence on it. The
    is the biggest sponsor of the US Congressional elections; it also sponsors the       and other P
events. The causes for this are economic – The      includes all the US arms manufactures and the
majority of the biggest foreign arms manufacturers as well. To take part in      activities companies are
charged a minimum fee of $1,000,000 USD annually.



The spokesperson’s positions in the P

In view of her activities in the “Arms” project and her political background, the spokesperson has
already established good communications with the          leadership (


                                            he visited the RF in response to an invitation from the Right
to Bear Arms organization to attend its annual meeting in 2013. Furthermore, the spokesperson took
part in the annual meeting of the      in 2014 as well as in a closed meeting of the      governing body
in 2015 and in the                     conference (the        ) in February of 2015. This contact became
possible thanks to personal connections and a visit to the US of               then-senator and acting
chairman of the                    of the RF. There are no other “informal” points of contact or
experts on Russian-American relations in the P.

The number of Russian experts and social organizations for conveying the “unofficial” position which
Russian state agencies in the US cannot voice, is extremely small (list is in the Attachment 1). There are
about 50 active Russian social organizations in the US, but they have no contacts with the future ruling
Party. Moreover, the P leadership views the speaker spokesperson as a possible “second Pozner” who,
as is known, was in fact the unofficial transmitter of Gorbachev’s and Yeltsin’s policies in the US; he did
this, among other ways, by working with American television.

                                                     3
         Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 4 of 7
                                            UNCLASSIFIED

During her recent participation in the P events in the US, the spokesperson was introduced to all the
main RP leaders as “representative of the unofficial diplomacy” of the RF. Also, she became personally
acquainted with               and all the presidential candidates in the P primaries.

The Americans see the current situation as similar to the period of conflict resolution during the Cold
War (let us remember that the two superpowers were able to defuse their nuclear standoff via an
unofficial communications channel – the meeting between Soviet spy Fomin (Feklisov) and the ABC
News correspondent John Scali where the Soviet government conveyed its conditions for resolving the
conflict). They are convinced that the official diplomatic establishments of the two countries cannot
agree to compromise in negotiations without losing face and that building a relationship between the
two countries in the future is possible only via an unofficial channel of communication.

The P leadership sees a connection: “Spokesperson – – access to VVP” and the possibility of
conveying the US position in order to achieve compromise and renewal of economic relations between
the two countries.

It is important to understand that this American position is of a purely pragmatic nature – US business
supports the P because of its platform (maximum business freedom, reducing programs for the social
welfare of the population, lowering taxes); that is, business is simply protecting the trade relationships
between the two countries and its own profits. US business has already harshly criticized            ’s
actions in 2014 because sanctions against the RF negatively affect business development.

Results achieved so far

During her stay in the US, the spokesperson

    •   received an invitation to speak as an expert on Russia on the biggest US news channel
               (the start of cooperation was postponed at the spokesperson’s initiative until the points of
        the position that she would represent could be discussed).
    •   was admitted to the international speaker organization,                              headquartered
        in the US, as an expert on Russian-American relations.
    •   received an invitation to deliver a course of lectures on international politics in a number of US
        State Universities.
    •   was invited to speak on the topic of Russia and the US at the                     conference in

                          it gathers the P leadership exclusively).
    •   personally met and has personal contact with the favorite of the P primaries,                 , and
        with members of the future P administration of the White House including
                                and foreign affairs advisor of the P.



Thus the groundwork for reliable contact in negotiating with the future US administration can be said
to have been laid.

Further action

The resulting state of affairs needs to be strengthened specifically in the current time period, before
the 2016 presidential election. After the election, conducting negotiations on that level will be

                                                     4
         Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 5 of 7
                                           UNCLASSIFIED

extremely problematic. The spokesperson needs to participate in all the major upcoming P
conferences (about once a month in various US cities; the list is included below in attachment 2), to
speak in the American media as an expert from Russia and to have constant contact with the P
leadership.

Also, it is important to note the large number of players from Russia who are interested in this matter
– entrepreneurs and RF citizens who own businesses and property in the US. If relations between the
two countries do not improve and the process of imposing sanctions becomes harsher, Russian business
will face a high risk of losing assets abroad.

Thus, we propose to consider the issue of providing the spokesperson with financial support for
attending the events mentioned above (a total budget of about $125,000) as well as separate meetings
with interested parties (the MFA, the Russian business representatives) in order to determine where the
focus of Russian interests lies in cooperating with the US.




                                                    5
       Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 6 of 7
                                  UNCLASSIFIED

                                                                 Attachment 1

RUSSIAN ORGANIZATIONS IN THE US

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                                       6
        Case 1:18-cr-00218-TSC Document 99-3 Filed 04/19/19 Page 7 of 7
                                        UNCLASSIFIED



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                                                                         Attachment 2

LIST OF MAIN P EVENTS TO ATTEND

May 14-16, 2015 --                         , Washington
June 11, 2015 -- Dinner at                         , Washington
July 8-11, 2015 –                 convention, Las Vegas
July 11-12, 2015 – Conference of the
          ), Washington
September 25-27, 2015 –                         conference, Washington
October 2, 2015 – Dinner of the
      ), Chicago
November 5-8, 2015 –                       conference, South Carolina




                                                7
